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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

RICHARD LOWERY, on behalf of
himself and others similarly situated,

Plaintiff,
V.

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TEXAS A&M UNIVERSITY; M. §

KATHERINE BANKS, in her official §

capacity as President of Texas A&M §

University; ALAN SAMS, in his official .. . .

capacity Interim Provost and Vice : Gen! Acton NG. 4-22-oy-3081
President for Academic Affairs for Texas §
A&M University; ANNIE S. §
MCGOWAN, in her official capacity as §
Vice President and Associate Provost for §
Diversity at Texas A&M University; and §
N.K. ANAND, in his official capacity as §
Vice President for Faculty Affairs at §
Texas A&M University, §
§

Defendants. §
SECOND DECLARATION OF M. CARTER CROW

IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
PLAINTIFF’S FIRST AMENDED COMPLAINT

I, M. Carter Crow, declare as follows:

My name is M. Carter Crow. I am a partner at Norton Rose Fulbright US LLP,
attorneys of record for Defendants in the above-captioned action. I have personal
knowledge of the facts stated herein and, if called as a witness, I could and would testify

competently thereto.
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1. Exhibit 10 to this Declaration is a true and correct copy of a declaration and
accompanying exhibit filed by Plaintiff Richard Lowery in the case captioned Lowery v.
Mills et al., No. 1:23-cv-00129, in the United States District Court for the Western District
of Texas on February 17, 2023. These filings are publicly accessible via PACER.

A. Exhibit 11 to this Declaration is a true and correct copy of a declaration filed
by Plaintiff Richard Lowery in the case captioned Lowery v. Mills et al., No. 1:23-ev-
00129, in the United States District Court for the Western District of Texas on March a1,

2023. This filing is publicly accessible via PACER.
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I declare under penalty of perjury that the foregoing is true and correct. Executed

Ae

M. Carter Crow

on March 27, 2023 in Houston, Texas.

